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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )                  8:13CR113
                     Plaintiff,                )                  8:13CR114
                                               )                  8:13MJ193
       vs.                                     )                    ORDER
                                               )
VICTOR ACERO and                               )
JONATHAN MARTINEZ,                             )           RE: MATERIAL WITNESS
                                               )           JUAN ANTONIO TOMAS
                     Defendants.               )


       This matter is before the court on the application of the United States for the arrest
and detention of a material witness, Juan Antonio Tomas (Tomas). The court having found
the application set forth the materiality of the witness’ testimony in the above-captioned
matter and that it may become impracticable to secure the presence of the witness by
subpoena, an arrest warrant was issued for the arrest of witness Tomas on June 17, 2013,
pursuant to 18 U.S.C. § 3144. Following the witness’ arrest, the witness Tomas was brought
before the undersigned magistrate judge for a hearing.
       Tomas appeared with his court-appointed counsel, Casey J. Quinn. Assistant U.S.
Attorney Russell X. Mayer represented the United States. During the hearing, Laura Garcia-
Hein, a certified interpreter in the Spanish language, served as the interpreter.
       The court took judicial notice of the application and affidavit and the Pretrial Services
Report, including an ICE detainer for the witness, which was placed with the U.S. Marshal.
Tomas presented no evidence on the government’s request that he be detained as a
material witness.
       I find that the testimony of Tomas would be material in this criminal proceeding
against Victor Acero. I further find it may become impracticable to secure the presence of
the witness by subpoena if the witness absconds to Mexico if he were released from custody
on conditions or deported. Since ICE has placed a detainer with the U.S. Marshal for
deportation proceedings regarding the witness and the witness has no roots in this
community or state, I find there is no condition or combination of conditions that would
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reasonablely assure the presence of the witness for the upcoming criminal proceedings in
this matter if he were released on conditions.


       IT IS ORDERED:
       1.     The witness, Juan Antonio Tomas, is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in
custody pending appeal. The witness shall be afforded a reasonable opportunity for private
consultation with his counsel. On order of a court of the United States or on request of an
attorney for the Government, the person in charge of the corrections facility shall deliver the
witness to the United States Marshal for the purpose of an appearance in connection with
a court proceeding.
       2.     Any motion or request for a deposition of the witness pursuant to Fed. R. Crim.
P. 15(a) and 18 U.S.C. § 1344 shall be served on all parties to this case.


       DATED this 19th day of June, 2013.
                                                   BY THE COURT:


                                                    s/ Thomas D. Thalken
                                                   United States Magistrate Judge




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